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            EXHIBIT
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 May 19 2008


 Mr      Ralph             DeGeeter               Managing                 Partner


 Quinnipiac                 Energy              LLC
 800     Village             Walk 282
 Guilford                CT       06437



 Interim                Status         Report             Quinnipiac                      Energy English                       Station Parcel                              PCB              Cleanup Plan


 Dear        Mr         DeGeeter


 This        is         brief      letter       report        to    advise
                                                                                     you       of the work               done          to     date        under          the     PCB          cleanup            plan1

 for the north                   portion         Parcel                   of the English                  Station            site       the        results           of that       work            and         the


 present           status         of the cleanup                     In    summary                  AEI       completed                 the tasks               outlined               in    the    plan        but

 additional              PCB           contamination                  was encountered                         and       escrow              funding             for the project                    has     now         been

 exhausted                  As          result      we        are     unable to complete                             PCB        cleanup                  to the target              specifications                   in     the

 plan         We         have          however            created               archives            of the extensive                    technical                information developed                                 on

 the    property                 including          sampling                and        analysis           databases              and          will        maintain             those          against           future


 developments                     that      may     take           place        on     the     site       Although               this        is    not      the        cleanup                            we    had
                                                                                                                                                                                            report

 hoped        to    produce              for regulatory                    agency          approval                we    believe              it    is         useful
                                                                                                                                                                            summary                  of the work

 accomplished                     and     where          it   stopped



 1.0    BACKGROUND

 The United                Illuminating               Company                    UI        sold        the inactive              English                 Station          site      --        former            electric


 generating               station--to              Quinnipiac                   Energy              QE        in     1998          The          transaction                funded             an escrow                for


investigation                    and    cleanup           of environmental                           contamination                     at    the         site     including                  PCBs         at    this


point        that       escrow           has     been         depleted            to      zero        The      site      has been                  well        characterized                  as to

environmental                      contaminants2                      QE        elected          to    subdivide               the property                     in   the    expectation                   that       the

northern            third        Parcel               would be                   easier        to     clean     up           Accordingly                       in    March 2007AE1

developed                the     plan       to     clean
                                                                up       PCB         contaminants                    on Parcel                           The     federal          Environmental

Protection               Agency             EPA           subsequently                     approved             the plan3               in    May 2007                     The          cleanup           work

specified           in the         plan was put                    out     to    competitive               bid4         in    September                   2007            Work commenced                               at


the    end        of November                    2007         and        ran     through              February           2008               the     cleanup              contractor                was
Environmental                      Services           Inc          ESI          of South             Windsor             Connecticut




  QE     English           Station       Parcel          PCB        Cleanup            Plan     AEJ     Project         OOT-030e              March            2007
  The    contaminants                  onsite     mostly       relate      to    use      of   river-bottom             dredge         spoils       containing             coal        tar   wastes        to


originally         build     the     island       hydrocarbon              wastes         associated          with      power       plant          use    of    coat     and     oil    fuels      and     PCl3s

incidental         to    large     electrical      equipment

  Letter          Robert       Varney           Administrator              Region               US     Environmental               Protection              Agency           to    Ralph         DeGeeter

Managing            Member             Quinnipiac         Energy           LLC         dated        May 22 2007
  Three       bid       packages        were      issued           RFQ-07D-001                  Remediate            Floor of          Station             Building            on      English       Station         Parcel


      July    20        2007       RFQ-07D-002                Remediate              Central        Portion        of Yard        on         English           Station     Parcel                  July    20    2007
and    RFQ-07D-003                 Remediate          South          Portion         of   Yard       on   English            Station         Parcel              July      20 2007


                                                                                                                      QE      Parcel            PCB        Cleanup         Plan          Interhu      Status         Report
                                                                                                                        AU     Project         OOT-030e                    May 192008                           Pg      of   20




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 2.0        PCB CLEANUP                                  WORK AND RESULTS

 Figure                shows             the    entire           English           Station        site       and    the       identified               areas          of    PCB         contamination

 Other contaminants                                 exist but               are    not relevant              to    this    report          and             in    any       case    PCBs             represent          the

 most        significant                  cleanup               costs         Figure             shows            Parccl             and         the areas                 of   PCB          contamination

 that       were            the    subject          of the cleanup                    plan1         These          areas the cleanup                             work           done      on        them under
 the    plan           the        results       of that              work         and     the    present           status        of the areas                    is    briefly described                       in the

 four       sections               below


 2.1        Station                    Building                  PCB         Contamination                        of Interior              Floor



 Figure                shows            the     cleanup               status       of the floor of the Station                                   building                    Scarification                 covered

 2880         sq       ft    of floor                somewhat more                         extensive              area     than specified                        in    the      plan         Concrete

 samples           were               collected            at    91    points        on         5-ft    verification               sampling                     grid and           wood             chip       samples

 at    18    points              in    an adjacent               wood         floor        area following                   the      methods                    and     procedures                  specified          in


 the    plan            None            of the wood                   samples           had      detectable               PCBs           but     23         concrete              samples            were        above

 the    plans               cleanup           specification                   of        ppm         Most of           these        were          in        the       1-2    ppm         range            but    five

 were        in   the            2-6    ppm      range               and     one     was 16000                ppm             Figure              shows               the       gridded         area       and

 sample           results              and     outlines               the areas         needing          future           attention             i.e remaining                                  ppm         PCB
 Steel       girders              constituted               portions              of the scarified                 floor      area         so          total          of 43       hexane            wipe        samples
 were        taken           at    5-ft      intervals               along each            girder            PCBs         were       detected                   in    only two           wipe            samples            at


 2.3    and       7.9        ug/l00            sq    cm          below        the       cleanup         level       specified              in    the        plan           The         tabulated           cleanup
 verification                    sampling           results            for    this      work      are    behind            Figure



2.2         Old Cooling                   Water             Discharge                 Tunnel            in    Coal Yard                    PCB              Contamination                           in   Sediments



                   shows                the    cleanup               status       of the cooling                  water discharge                      tunnel              in the center                         of the
Figure                                                                                                                                                                                                part

coal        yard            The        top     of the tunnel                  on     either      side        of catch           basin      CB-2 was removed                                     Sediment               and

debris        were               Supervacd               out         along           20-ft      length            which was              then          sandbagged                      against           water entry

The exposed                       concrete           surface            was washed down                           with Simple                   Green            Crystal           solution           then

sampled            at       six points              on     the        bottom         and      two      points        on     the      wails             following                the     methods                and

procedures                   specified           in      the     plan         None           of the concrete                  samples             had            detectable             PCBs              However
two     sediment                   samples            in    the       undisturbed               areas        on    either        side      of the cleaned                         area       contained               PCBs
in    the    2-4       ppm             range         Inspection                of the tunnel                 indicates           that      it    is    both deeper                     and     contains              more
sediment               than        envisioned                   in    the    plan         Although            the     section            was cleaned                       according                to the


specifications                     of the plan                  we     believe          the     entire       length         of the tunnel                       should          now       be presumed                   to

contain           sediments above                                ppm        PCB         and      thus        require          additional               characterization                        and        cleanup
The     tabulated                  cleanup           verification                  sampling            results       for      this   work              are       behind           Figure



2.3     Central                  Portion            of Coal Yard                        PCB         Contamination                        in Soil                and Asphalt


                   shows               the                           status       of two        areas        in the       central                                of the coal             yard                  small
Figure                                        cleanup                                                                                      portion

contaminated                      soil    pocket                     the south          of Track                  was excavated                       to    approximately                      6-ft
                                                            to                                                                                                                                           deep
below        the       water table                  in           somewhat               larger      volume            than specified                        in the         plan          Verification


sampling           on              5-ft      grid with perimeter samples                                     of the asphalt                     surface               was performed                      following
the    methods                   and    procedures specified                            in    the   plan           The        results           indicate              the       area    was         successfuliy

cleaned           up        to    the         ppm        specification                     The excavation                     was    backfilled                       with clean             fill    from         offsite




                                                                                                                         QE     Parcel          PCB             Cleanup         Plan     Interim         Status      Report
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      small contaminated               area     of asphalt          with no      underlying                 PCBs         in    the    soil     per      earlier

characterization           work        to     the north         of Track          was removed                        along with                I-ft     depth       of

underlying soil            Three        sections         of asphalt        were      removed                since        perimeter sampling                       to     the east

indicated       additional           PCBs present               Verification          sampling              on          5-ft    grid around                 the   perimeter of
the    removed        asphalt        indicate      the    area      was    successfully                cleaned          up     to the
                                                                                                                                               ppm          specification              in


the    plan      That    area    was     leveled         off    with clean        fill      from offsite                 The     tabulated             cleanup
verification       sampling           results      for   this      work    are   behind Figure



2.4     Southwest Corner of Coal Yard                                   PCB      Contamination                         in Soil




                shows     the   cleanup          status       of       small   contaminated                     soil    pocket        in   the    southwest               corner         of
Figure
the    coal    yard     north    of Track                 This was excavated                      to    approximately                 6-ft      deep below                the        water

table     in     somewhat            larger     volume          than     specified          in    the    plan          and     further         excavated            in    its



westernmost           reach     to      7.5-ft     depth           Verification          sampling               on       5-fl     grid with perimeter samples

of the asphalt          surface       was performed                 following        the         methods           and       procedures               spccified          in     the

          The                                 the area        was                                cleaned                to the                                                       of the
plan             results     indicate                                  successfully                               up                 10    ppm         specification

plan      The excavation              was     backfilled           with clean        fill     from offsite                   however              cap was              not

installed      over the excavated                area         The    tabulated       cleanup              verification               sampling           results          for    this


work     are    behind Figure



3.9    WASTE DISPOSAL

All    soil    asphalt     sediment            decontamination                 wastes            personal            protective            equipment              and

miscellaneous           wastes       were      sent      to        licensed    TSCA              facility        Chemical Waste Management
Model     City     New York              in   22   rolloffs         over the course of December                                 2007       through            Fcbruary               2008
Water     from    dewatering            the    excavations              1.6 ppb          and       tunnel         1.4 ppb             was       collected           in          frac

tank    onsite then        trucked       offsite      to Clean            Waters         of      New        York         Staten       Isiand           New York                  for


processing       as      non-TSCA             waste           No     generated cleanup                    wastes         remain           on    site    at   present




Sincerely



Advanced         Environmental                  Interface            Inc




Denning        Powell PE
Principal      Engineer




                                                                                              QE       Parcel          PCB     Cleanup         Plan     Interim        Status        Report
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                    Sediment                      and     debris

                    in                                 hirinel                                                                     Sc             v4ti
                            dlstharpe                                                                                                   pocket

                        under             catth        basin                                                                        lOppm        PCB
                                                                                                                                                                          or
                                    POB           I-lu                                                                                                   LI   Butlhg
                                                           ppm
                                                                         Sur             asphat          and

                                                                                                                                                         Li   Subsurta          Feelure
                                                                         soil               vth          PCB                MII1
                                                                                pocket                            asphat

                                                                         I-la                                  1-10                                           Caldi     Basin
                                                                                 ppm                                  ppm
cs                                                                                                                                                                               Pie      bund
                                                                                                                                                              Cupreni    PCB                           ppm

       VbU   Vaiiuarave             papas                                                                                                                                       Enronmental       Hazard
              Loaisra               gSa
                                                                                                                                                              SnWni
                                                                                                                                                              SEJ-I     Pree    for   ebvaiod    PCB    lesob
                                          Far
       accwiediaknt




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         Patd              pallor                                                     Ckaaip
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                             Figure
PARCEL   OVERVIEW PCB AREAS DESIGNATED IN PLAN FOR CLEANUP
                 AND THEIR PRESENT STATUS




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                                      QE    Parcel     PCJ3 Cleanup        Plan   Interim    Status   Report
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                                             Figure
                 STATION          INTERIOR FLOOR CLEANUP STATUS
                                  compare   to   Plan Figure                 Al




         Sloop   no   Bppooopfl




                                                   Strodural    Steel




                                                   in   floor




                                                                                              Spool   Pinto




                                                                QE      Parcel     PCB   Cleanup         Plan    Interim   Status   Report
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                                                                                                                                             U1005157
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Data       Table         for       Figure


   Sample                  Depth             Sample      PCB          Site    Feature
                                                                                                Sampliiig
                                                                                                                             Lab               Analysis              Analysis              Cleanup
    Point                  feet               Matrix     Area                                       Date                  Analysis               Date                 Result               Criterion


                                                                                                                          Report                                      mg/kg                 mg/kg
                                                                                                                                                                      unless                tiniest


                                                                                                                                                                      noted                 noted

 ICO      608               inch            Concrete         II      First    floor       Feb    20    2008           08020440           Feb    23    2008     ND       030
 tCO-609                   inch             Concrete         1.1     First    floor       Feb    20    2008           08020440           Feb    23    2008     0.41                            1.0



 lCO-610                   inch             Concrcte         1.1     First    floor       Feb    20    2008           08020440           Feb    23    2008     ND 030                          1.0



  CO-61                    inch             Concrele         II      First    floor       Feb    20    2008           08020440           Feb    25    2008     083

 ICO-612                   inch             Concrete         II      First    floor      Feb     202008               08020440           Feb    25    2008     0.43



  CO-6      13             inch             Concrete         1.1     First    floor      Feb     202008               08020440           Feb    23    2008     ND               30             1.0



 ICO-614            14     inch          Concrete        1.1        First     floor      Feb     202008               08020440           Feb    25    2008     ND 0.30                         IC


  CO-615                   inch          Concrete            II     First     floor      Feb     20    2008           08020440           Feb    25    2008     0.69



  CO-616                   inch          Concrete        1.1        First     floor      Feb     20    2008           08020440           Feb   242008          ND 030                          1.0



 ICO-617                   inch          Concrete        II         First     floor      Feb     202008               08020440           Feb    242008         ND 0.30                         1.0



 ICO-61                    inch         Concrete         II         First    floor       Feb    20     2008           08020440         Feb     24     2008     ND 0.30

 1CO-619                   inch         Concrete         II         First    floor       Feb    20     2008           08020440         Feb     24     2008     ND       030
  CO-620                   inch         Concrete                    First    floor       Feb    20     2008           08020440         Feb     25     2008     0.76                           1.0



 ICO-621                   inch         Concrete         II         First    floor       Feb    20     2008          08020440          Feb     25    2008      094                            1.0



 ICO.622                   inch         Concrete         11         First    floor       Feb    202008               08020440          Feb     25    2008      037

 ICO-623                  inch          Concrete         1.1        First    floor       Feb    202008               08020440          Feb     25    2008      0.72



  CO-624                   inch         Concrete         1.1        First    floor       Feb    202008               08020440          Feb     25    2008      0.34                           1.0



 ICO-625           /2     inch          Concrete         II         First    floor       Feb    202008               08020440          Feb     26    2008      ND 0.30                        1.0



  CO.626                  inch          Concrete         1.1        First    floor       Feb    20     2008          08020440          Feb     242008          ND 0.30

 ICO627                   inch          Concrete             .1    First     floor       Feb    20    2008           08020440          Feb     25    2008      ND      030                    1.0



 ICO-627                  inch          Concrete         II        First     floor       Feb    20    2008           08020440          Feb     25    2008      ND 0.30                        1.0



  CO-628                  inch          Concrete        1.1        First     floor       Feb    20    2008           08020440         Feb      24    2008      055

ICO629                    nch           Concrete        1.1        First     floor       Feb    20    2008           08020440         Feb      242008          ND 0.30

 ICO-630                  inch          Concrete        1.1        First     floor       Feb    20    2008           08020440         Feb      25    2008      ND      030                    1.0



ICO-631                   inch          Concrete        II         First     floor      Feb     20    2008           08020440         Feb      242008         ND 0.30                         1.0



1120-632                  inch          Concrete        1.1        First     floor      Feb     20    2008           08020440         Feb      25    2008      085

ICO-633                   nch           Concrete        1.1        First     floor      Feb     202008               08020440         Feb      25    2008     ND       030                    1.0



 C0-634                   inch          Concrete                   First     floor      Feb     20    2008           08020440         Fcb      24    2008     ND       030                    1.0




 C0635                    inch          Concrete       11          Frst      floor      Feb     202008               08020440         Feb      242008         ND 0.30                         1.0



ICO-636                   inch          Concrete       1.1         First     floor      Feb     202008               08020440         Feb      25    2008     ND 0.30

ICO-637                  inch          Concrete        1.1         First    floor       Feb    202008                08020440         Feb      25    2008     0.37



ICO-638                  inch          Concrete        II          Frse     floor       Feb     20    2008           08020440         Feb      26    2008     ND 0.30                         1.0



 C0-639                  inch          Concrete        1.1         First    floor       Feb     20    2008           08020440         Feb      24    2008     ND 0.30

ICO-640                  tnch          Concrete                    First    flour       Feb    20     2008           08020440         Feb      24    2008     ND 0.30                         10


ICO-641                  inch          Concrete        1.1         First    floor       Feb    20     2008           08020440         Feb      24    2008     ND       030
ICO-642                  inch          Concrete        1.1         First    floor       Feb    20     2008          08020440          Feb      242008         ND      030
ICO-643                  inch          Concrete        1.1         First    floor       Feb    20     2008          08020440          Feb      24    2008     ND      030                     t.0




 CO-644                  inch          Concrete                    First    floor       Feb    20     2008          08020440          Feb      26    2008     0.32                           1.0




 C0-645                  inch          Concrete        II          First    floor       Feb    20     2008          08020440          Feb      262008         ND 0.30                        1.0




ICO-646                  inch          Concrctc        1.1         First    floor       Feb    202008               08020440          Feb      262008         1.48




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Data       Table             for      Figure        cont


  Sample                      Depth             Sample       PCB          Site     Feature          Sanipling                  Lab                Analysis              Analysis              Cleanup

    Point                      feel             Matrix      Area                                         Date               Analysis                Date                  Result              Critenon

                                                                                                                            Report                                       mg/kg                 rnakg
                                                                                                                                                                          unless               unless


                                                                                                                                                                          noted                noted

 ICO-647                       inch            Concrete          1.1     First    floor       Feb    20     2008        0802044t            Feb    262008          1.6                            1.0



  CO-647                       inch            Concrete          11      First    floor       Feb    20     2008        08020441            Feb    26    2008      1.6                           1.0



 ICO-648                       inch            Concrete          11      First    floor       Feb    20     2008        08020441            Feb    26    2008      1.40



 ICO-649                       inch            Concrete          1.1     First    floor       Feb    202008             08020448            Feb    262008          1.07                          1.0



 lCO650                        inch            Concrete          1.1     First    floor       Feb    20     2008        08020441            Feb    262008         0.32                           1.0



  CtN65J                14     0th             Concrete          11      First    floor       Feb    202008             08020441            Feb    262008         1.37



 ICO-652                       inch            Concrete          1.1     First    floor       Feb    20    2008         08020441            Feb    26    2008     1.23                           1.0



 ICO-653                       inch         Concrete             1.1     First    floor       Feb    20    2008         08020441         Feb       262008         1.42                           1.0



 ICO-654                       inch         Concrete         1.1         First    floor       Feb    202008            08020441          Feb       272008          1.00                            .0




 ICO-655                /s     inch         Concrete                     First    floor       Feb    202008            08020441          Feb       272008         081


 ICO-656                Ainch               Concrete         1.1        First     floor       Feb    20    2008        08020448          Feb       27   2008      ND       030                   1.0



 ICO657                        inch         Concrete         1.1        First     floor       Fcb    20    2008        0802044           Feb       27   2008      0.74                           1.0



 ICO-658                       inch         Concrete         II         First     floor       Feb    20    2008        08020441          Feb       26   2008      ND 0.30

  CO-659                       inch         Concrete         1.1        First     floor       Feb   202008             08020441          Feb       27   2008      ND               30            1.0



 ICO-660                       inch        Concrete          1.1        First    floor        Feb   202008             0802044           Feb      272008          0.89                           t.0



  CO-661                       inch        Concrete          1.1        First    floor        Feb   20     2008        08020441          Feb       27   2008      0.80



 ICO-662                      inch         Concrete          1.1        First    floor        Feb   202008             08020441          Feb      272008          ND 0.30

 ICO-663                      inch         Concrete          1.1        First    floor        Feb   20     2008        08020441          Feb      26    2008      ND       030
 ICD.664                      inch         Concrete          1.1        First    floor        Feb   202008             08020441         Feb       27    2008      0.81                           1.0



 ICO-665                      inch         Concrete          It         First    floor        Feb   202008             0802044           Feb      27    2008      0.43                           1.0



 ICO-666                      inch         Concrete          1.1        First    floor        Feb   20     2008        08020441         Feb       27    2008      1.51



 ICO-667            14        inch         Concrete         II          First    floor       Feb    202008             08020441         Feb       27    2008      1.50                           1.0



 ICO-667                      inch         Concrete         11          First    floor        Feb   202008             08020448         Feb       272008          1.41                           l.a



 ICO-668                      inch         Concrete                     First    floor       Feb    20    2008         08020441         Feb       262008         ND 0.30

ICO669                        inch         Concrete         LI          First    floor       Feb    20    2008         0802044          Feb       27    2008      2.1                            1.0



 lCD-Gb                       inch         Concrete         1.1         First    floor       Feb    202008             08020441         Feb       26    2008      0.46                           1.0



ICQ-671                       inch         Concrete         II          First    floor       Feb    20    2008         08020441         Feb       26    2008      1.08



ICO-672                       inch         Concrete         II         First     floor       Feb    20    2008         08020441         Feb       26    2008      1.23



 CO-673                       inch         Concrete              .1    First     floor       Feb    20    2008         08020441         Feb       26    2008     ND                30             .0




ICO-674                      inch          Concrete                    First     floor       Feb    20    2008         0802044          Feb       27    2008      1.47                          1.0



IC0-675            /s        inch          Concrete        11          First     floor       Feb    20    2008         08020441         Feb       27    2008      1.26                          1.0



 CD-676            Anch                    Concrete          .1        First     floor       Feb    20    2008         08020441         Feb       27    2008     ND 0.30

BW-606             NA                      Water                       First     floor       Feb    20    2008         08020441         Feb       25    2008     0.50          ugfl            NA

BW-607             N.k                     Water                       First     floor       Feb    20    2008         08020441         Feb       25    2008     050           ug/l            NA

BW-608             NA                      Water                       First     floor       Feb    202008            0802044           Feb       252008         050           ugA             NA

ICO-677                      inch         Concrete         11          First     floor       Feb    25    2008        08020603          Mar 03          2008     ND 0.30

ICO-678                      inch         Concrete                     First     floor       Feb    25    2008        08020603          Mar 03          2008     ND       030
tCO-679            14        inch         Concrete         1.1         First     floor       Feb    25    2008        08020603          Mar 03          2008     ND 0.30                        1.0



ICO-680            Ainch                  Concrete         1.1         First     floor       Feb    25    2008        08020603          Mar 042008               1.17                           10

ICO-681                      inch         Concrete                     First    floor        Feb    25    2008        08020603          Mar 04          2008     4.5                            1.0




                                                                                                            QE     Parcel        PCB   Cleanup          Plan    Interim            Status    Report
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Data       Table         for      Figure        cont


  Sample                  Depth             Sample       PCB              Site    Feature          Sampling                     Lab             Analysis               Analysis              Cleanup

   Point                   feet              Matrix      Area                                           Date                 Analysis             Date                  Result               Cnterion

                                                                                                                             Report                                     mg/kg                 mgilg
                                                                                                                                                                        unless                unless


                                                                                                                                                                        noted                 noted

 ICO-682            V2     inch            Concrete                      First    floor      Feb    25     2008          08020603         Mar 04        2008     6.1                             1.0



 ICO-683            /3     inch            Concrete          1.1         First    floor      Feb    25     2008          08020603         Mar 04        2008     0.98



 ICO-684            Vs     inch            Concrete          1.1         First    floor      Feb    25     2008          08020603         Mar 04        2008     039                             10


 ICO-685                   inch            Thncrete          II          First    floor      Feb    25     2008          08020603         Mar     04    2008     0.57                            1.0



  CO-686           i/      inch         Concrete                  .1     First    floor      Feb    25     2008         08020603          Mar 04       2008      ND               30                 .0




 ICO-687           Vs      inch         Concrete             1.1         First    floor      Feb    25     2008         08020603          Mar 04        2008     ND 0.30

 ICO-687                   inch         Concrete             1.1         First    floor      Feb    25     2008         08020603          Mar 04       2008      ND 0.30                        1.0



 ICO-688           Vz      inch         Concrete             II          First    floor      Feb    25     2008         08020603          Mar     04   2008      0.93                           1.0



 ICO-689           Vs      inch         Concrete         1.1            First     floor      Feh    25    2008          08020603          Mar 04       2008      1.76                           1.0



ICO-690            Vs      inch        Concrete          1.1            First     floor      Feb    25    2008          08020603          Mar 04       2008      2.3



ICO-691            Vs      inch        Concrete          1.1            First    floor       Feb    25    2008          08020603          Mar     10   2008      4.4                            1.0



ICO-692                    inch        Concrete          II             First     floor      Feb    25    2008          08020603          Mar 04       2008      0.70



ICO-693            Vs      inch        Concrete          1.1            First    floor       Feb   25     2008          08020603         Mar 042008             ND 0.30

ICO-694                    inch        Concrete          1.1            First    floor       Feb   25     2008          08020603         Mar 042008             ND 0.30                         1.0



ICO-695                   inch         Concrete          1.1            First    floor       Feb   25     2008          08020603         Mar 03        2008      ND 0.30                        1.0



ICO-696            Vi     inch         Concrete          II             First    floor       Feb   25     2008          08020603         Mar 03        2008      1.1



 CO-697                   inch         Concrete          1.1            First    floor       Feb   25     2008          08020603         Mar 04        2008      16000


 CO-698                   inch         Concrete          1.1            First    floor       Feb   25     2008          08020603         Mar 042008             3.2                             1.0



ICO-699            Vs     inch         Concrete          It             First    floor      Feb    25     2008          08020603         Mar 04        2008      1.2                            1.0



ICO-700                   inch         Concrete          1.1            First    floor      Feb    25     2008          08020603         Mar 03        2008     ND 0.30                         1.0



ICO-701                   inch         Concrete          1.1           First     floor      Feb    25     2008          08020603         Mar 03        2008     ND 0.30

ICO-702                   inch         Concrete          II            First     floor      Feb    25     2008          08020603         Mar 03        2008     0.36                            1.0



ICO-703                   inch         Concrete                        First     floor      Feb    25     2008          08020603         Mar 042008             0.36                            1.0



ICO-703                   inch         Concrete          1.1           First     floor      Feb    25     2008          08020603         Mar 03        2008     0.38                            10

BW-609             NA                  Water            1.1            First     floor      Feb    25     2008          08020603         Mar 04        2008     0.50         ug/l              NA

BW-610             NA                  Water                           First     floor      Feb    25     2008          08020603         Mar 042008             050          ugJI              NA

101-606                   inch         Wood                  .1        First     floor      Feb    25    2008           08020604         Mar 112008             ND 0.30

 XX-607                   inch         Wood             1.1            First     floor      Feb    25    2008           08020604         Mar 112008             ND 0.30

101-608                   inch         Wood                            First     floor      Feb    25    2008           08020604         Mar     112008         ND 0.50                         1.0



IXX-609                  inch          Wood                            First     floor      Feb    25    2008           08020604         Mar 112008             ND       050                   1.0



101-610                  inch          Wood             II             First     floor      Feb    25    2008           08020604         Mar 112008             ND       050                   80


801-611                  inch         Wood              II             First     floor      Feb    25    2008           08020604         Mar 112008             ND 0.50                        80

l01612                   inch         Wood              II             First     floor      Feb    25    2008           08020604         Mar 112008             ND 0.50                        1.0



101-613                  inch         Wood             11              First     floor      Feb    25    2008          08020604          Mar 112008             ND       050                   1.0



101-614                  inch         Wood             II              First    floor       Feb    25    2008          08020604          Mar 112008             ND 0.50

IXX-615                  inch         Wood             1.1             First    floor       Feb    25    2008          08020604          Mar 112008             ND 0.50                        10

101-615                  inch         Wood             1.1             First    floor       Feb    25    2008          08020604          Mar     II    2008     ND 0.50                        10

101-616                  inch         Wood             11              First    floor       Feb    25    2008          08020604          Mar 112008             ND       050                   1.0



101-617                  inch         Wood             II              First    floor       Feb    25    2008          08020604          Mar 112008             ND CO            50            10


101-618                  inch         Wood             1.1             First    floor       Feb    25    2008          08020604          Mar 112008             ND       050                   1.0




                                                                                                               QE   Parcel        PCB   Cleanup        Plan    Interim           Status     Report
                                                                                                               AM    Project      DOT-030e             May 19 2008                     Pg     of 20




                                                                                                                                                                                                          U1005160
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Data Table                for         Figure         cont

                                                                PCB             Site   Feature                                      Lab              Analysis
    Sample                    Depth             Sample                                                  Sampling                                                           Analysis                   Cleanup

      Point                    feet             Matrix          Area                                         Date                Analysis               Date                 Result                   Critenon

                                                                                                                                 Report                                     mgRcg                      mgflcg
                                                                                                                                                                             unless                     unless


                                                                                                                                                                            noted                      noted

  IXX.619                Vs    inch            Wood                  II        First   floor      Feb     25    2008        08020604           Mar      11.2008       ND      050                         1.0



  IXX-620                      inch            Wood                  11        First   floor      Feb     25    2008        08020604           Mar      11.2008       ND 0.50                             1.0



  IXIX-621                     inch            Wood                  1.1       First   floor      Feb     25    2008        08020604           Mar      tI    2008    ND 0.50                             10


    OC-622                     inch            Wood              1.3           First   floor      Feb    25     2008        08020604           Mar      11    2008    ND              50                  1.0



  IXX-623                Vs    inch            Wood              1.1           First   floor      Feb    25     2008        08020604           Mar      112008        ND 0.50

  IXX-624                      inch            Wood              1.1           First   floor      Feb    252008             08020604           Mar      112008        ND 0.50

  BW-61              NA                        Water             1.1           First   floor      Feb    25     2008        08020604           Mar      112008        0.50           ugl                 NA




ff.e.xane         Wipe        Sajiples         of   Steel   Floor          Girders



    Sample                    Depth            Sample          PCB             Site    Feature          Sampling                    Lab              Analysis              Analysis                   Cleanup

     Point                                      Matrix         Area                                       Date                   Analysis              Date                 Result                    Criterion
                              feel

                                                                                                                                 Report                                ug/100          sq         ugIlOO          sq

                                                                                                                                                                              cm                         cm
  1HX-600            NA                    Hexane                1.1          Girder              Feb    29.2008            08030008           Mar     14    2008    ND 5.0                              100

  IEIX-601           NA                    Hexane                II           Girder              Feb    292008             08030008           Mar     14    2008    ND       50                         10.0



   ELX-602           NA                    Hexane                II           Girder              Feb    29.2008            08030008           Mar     14    2008    ND       50                         100

 IHX-603             NA                    Hexane                LI           Girder              Feb    292008            08030008            Mar     142008        ND 5.0                              10.0



 IHX-604             NA                    Hexane                1.1          Girder              Feb    29    2008        08030008            Mar14         2008    ND 5.0                              10.0



 IHX-605             NA                    Hexane               11            Girder              Feb    29    2008        08030008            Mar     14    2008    ND       50                         10.0



 1lX-606             NA                    Hcxanc               1.1           Girder              Feb    29    2008        08030008            Mar     14    2008    ND       50                         100

 IHIX-607            NA                    Hexane               1.1           Girder             Feb     29    2008        08030008            Mar 142008            ND 5.0                              100


 lID-608             NA                    Hexane               11            Girder             Feb     29    2008        08030008            Mar     142008        ND 5.0                              10.0



 IHX-609             NA                    Hexane               1.1           Girder             Feb     292008            08030008            Mar     14    2008    ND 5.0                              10.0



 IHX-610             NA                    Hexane               1.1           Girder             Feb     29    2008        08030008            Mar     14    2008    ND 5.0                              100


 IHX        GIl      NA                    Hexane               1.1           Girder             Feb     29    2008        08030008            Mar     34    2008    ND 5.0                              10.0



 IHX-612            NA                     Hexane               Ii            Girder             Feb     292008            08030008            Mar     14    2008    ND 5.0                             10.0



 IHX-613            NA                     Hexane               II            Girder             Feb     292008            08030008            Mar     14    2008    ND 5.0                             100


 IHX-614            NA                     Hexane               1.1           Girder             Feb     292008            08030008            Mar     14    2008    ND 5.0                             10.0



 IHIX-615           NA                     Hexane              1.1            Girder             Feb     29    2008        08030008            Mar     14    2008    ND 5.0                             10.0



 ltlX-616           NA                     Hexane              II             Girdcr             Feb    292008             08030008            Mar    14     2008    ND      50                         10.0



 IHIX-617           NA                     Hexane              1.1           Girder              Feb    292008             08030008            Mar    14     2008    ND      50                         10.0



 IRX-618            NA                     Hexane              1.1            Girder             Feb    29     2008        08030008            Mar    14     2008    ND 5.0                             300

 1101-619           NA                     Hexane              II             Girder             Feb    29     2008        08030008            Mar    14     2008    ND 5.0                             10.0



 IHX-620            NA                     Hexane                            Girder              Feb    29     2008        08030008            Mar 142008            ND      50                         10.0



 11171-621          NA                     Hexane              1.1           Girder              Feb    29     2008        08030008            Mar 182008            ND      50                         10.0



 11171-622          NA                     Hexane              1.1           Girder              Feb    292008             08030008            Mar    88     2008    ND      50                         10.0



 11171-623          NA                    Hexane               1.1           Girder              Feb    29     2008        08030008            Mar    18     2008    ND 5.0                             100

11171-624           NA                    Hexane               1.1           Girder              Feb    29    2008         08030008            Mar 182008            ND 5.0                             10.0



IHX-625             NA                    Hexane                             Girder              Feb    292008             08030008            Mar    18     2008    ND 5.0                             10.0



1101-626            NA                    Hexane                             Girder              Feb    292008             08030008            Mar    18     2008    2.3                                10.0



11171-627           NA                    Hexane               1.1           Girder              Feb    292008             08030008            Mar    18     2008    7.9                                10.0




                                                                                                                 QE    Parcel          PCB   Cleanup         Plan/interim             Status     Report
                                                                                                                AEI    Project      ODT-030e                May 19 2008                     Pg   10    of 20




                                                                                                                                                                                                                       1005161
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Data        Table    for Figure          cont


Hexane        Wipe       Samples    of   Steel   Floor     Girders



  Sample             Depth           Sample         PCB         Site    Feature         Sampling                  Lab             Analysis          Analysis                   Cleanup
    Point                            Matrix         Area                                  Date                                       Date              Result                 Criterion
                         feet                                                                                  Analysis

                                                                                                               Report                              ugIlOO         sq          ug1100       sq

                                                                                                                                                        cm                          cm
 lflX-628           NA              Hexane           1.1       Girder             Feb    29   2008        08030008           Mar    18   2008     ND 5.0                            100


 IHX-629            NA             Hexane            1.1       Girder             reb    29   2008        08030008           Mar    18   2008     ND      50                        10.0



 IHX-630            NA             Hexane                      Girder             Feb    292008           08030008           Mar    18   2008     ND 5.0                            10.0



 1IX-631            NA             Hexane            II        Girder             Feb    29   2008        08030008           Mar    14   2008     ND 5.0                            100


 11-01-632          NA             Hexane            1.1       Girder             Feb    29   2008        08030008           Mar 142008           ND 5.0                            10.0



1101-633            NA             Hexane            1.1       Girder             Feb    29   2008        08030008           Mar 142008           ND 5.0                         10.0



1F0c634             NA             Hexane            II        Girder             Feb    29   2008        08030008           Mar    14   2008     ND 5.0                         100


11131-635           NA             Hexane            1.1       Girder             Feb    29   2008        08030008           Mar14       2008     ND 5.0                         100


1HX-636             NA             Hexane           1.1        Girder             Feb    29   2008        08030008           Mar    IS   2008     ND    50                       100


11131-637           NA             Hexane           1.1        Girder             Feb    292008           08030008           Mar 152008           ND    50                       10.0



IHX-638             NA             Hexane           1.1       Girder              Feb    29   2008        08030008           Ma     IS   2008     ND 5.0                         10.0



11-01-639           NA             Hexane           1.1       Girder              Feb    29   2008        08030008           Mar    15   2008     ND 5.0                         10.0



11131-640           NA             Hexane           1.1       Girder              Feb   29    2008        08030008           Mar    15   2008     ND    50                       10.0



11131-641           NA             Hexane           11        Girder              Feb   29    2008        08030008           Mar    IS   2008     ND 5.0                         10.0



11131-642           NA             Hexane           1.1       Girder              Feb   29    2008        08030008           Mar    15   2008     ND 5.0                         100


11131-643           NA             Hexane           1.1       Girder              Feb   292008            08030008           Mar    15   2008     ND    50                      NA




                                                                                               QE    Parcel         PCB   Cleanup        Plan   Interim         Status    Report
                                                                                              AEI    Project      OQT-030e            May 19 2008                  Pg    11    of     20




                                                                                                                                                                                                U1005162
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                                      Figure
       COOLiNG WATER DISCHARGE TUNNEL                                CLEANUP STATUS
                       comvare   to        Plan Figwe         A22c



                                                I-I
                                                                           II




                     III
                            IIII                       1111




                                      2G




                                                                          4j



                                                                                Le




                                                QE    Parce     .4PCB Ckaraup        Flirn    hdcrn   St2tug    Rcpor
                                               AU     Project    OOT030e             May     92008       Pg    12   of 20




                                                                                                                            111005163
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Data      Table        for        Figure


  Sample               Depth               Sample   PCB     Site    Feature         Sampling                  Lab              Analysis               Analysis                Cleam
   Point                                   Matrix   Aiea                              Dale                                       Date                  Result                 Criterion
                        feel                                                                               Analysis


                                                                                                           Report                                      mg/kg                  mg/kg
                                                                                                                                                       unless                  unless


                                                                                                                                                       noted                   noted

25W-602           Surface              Water        2.2    Frac     tank      Dec    07   2007        07120202           Dec     102007         1.39      ugR                    NA
2SD-600           04          in       Sediment     2.2    Tunnel             Dcc    04   2007        07120140           Dec    07   2007       3.6                               1.0



2SD-601           04          in       Sediment     22     Tunnel             Dec    04   2007        07120140           Dec    07   2007       ND 0.80                           1.0



25D-602           04          in       Sediment     2.2    Tunnel             Dec    04   2007        07120140           Dec    07   2007       ND          1.0                   1.0



2SD-603           04         in        Sediment     2.2    Tunnel             Dec    042007           07120140           Dec    072007          2.6                               1.0



2SD-604           04         in        Sediment     2.2    Tunnel             Dec    04   2007        07120140           Dec    07   2007       1.7                               1.0



25D.604           04         in        Sediment     2.2    Tunnel             Dec    04   2007        07120140           Dec    07   2007       1.63                              1.0



2C0-600                 inch           Concrete     2.2    Tunnel             Dec    04   2007        07120141           Dec    07   2007       ND 0.50                           1.0



2C0-60l                 inch           Concrele     2.2    Tunnel             Dec    04   2007        07120141           Dec    07   2007       ND 0.30                           1.0



2C0-602           /s    inch           Concrete     2.2    Tunnel             Dec    04   2007        07120141           Dec    07   2007       ND 0.30                           1.0



2C0-603                 inch           Concrete     2.2    Tunnel             Dec    04   2007        07120141           Dec    07   2007       ND 0.40                           1.0



2C0-604                 inch           Concrete     2.2    Tunnel             Dec    042007           07120141           Dec    07   2007       ND      040                       1.0



2C0-G05           Vs    inch           Concrete     2.2    Tunnel             Dec    042007           07120141           Dec    07   2007       ND 0.40                           1.0



2C0-606           Vs   inch            Concrete     2.2    Tunnel             Dec04       2007        07120141           Dec    072007          ND         0.30                  1.0



2C0-607                inch            Concrete     2.2    Tunnel             Dec    042007           0712014            Dec    07   2007       ND 0.30                          1.0




                                                                                          QE     Parcel         PCB   Cleanup        Plan    Interim            Status    Report
                                                                                          AEI    Project      OOT-030e            May       19 2008                Pg    13    of 20




                                                                                                                                                                                          U1005164
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                                                                 FigureS
        CENTRAL COAL YAIW EXCAVATION                                                        CLEANUP STATUS
                                                  compare   to   Plan Figure     A2 2b




                                                                                              find         ifi



                                                                                              Aasl   ntu




                                                MfiZ4




        SS.9s   99VJ




          99Ifln-4VXbV\Fth

        M.49    Vmwk
                          9p9



                       9999$4
                                    099




                                9r99v994   Od
                                                                       fl
                                                                       Jtatt                  k.mtmtun4




                                                                                      t3      -H

                                                                                 -4           \7




                                                                                      rtv            Ri




                                                                                              \7




                                                                                                     V7
                                                                                      9C1




                                                                      QE    Pzreel       PCB Ckanup        Pa      /Iotrrh-o   Status    Report
                                                                      Afl   Project     00T03Ou            My    199   2008       Pg    14   of 20




                                                                                                                                                     U1005185
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Data Table          for          Figure


   Sample                Depth              Sample    PCB    Site   Feature     Sampling      Date              Lab               Analysis               Analysis                Cleanup
    Point                feet               Matrix    Area                                                   Analysis               Date                  Result                 Criterion


                                                                                                             Report                                       mg/kg                   mg/kg
                                                                                                                                                          unless                  unless


                                                                                                                                                          noted                   noted

 23W-601       NA                         Water        2.2     Track           Nov    292007            07120018            Dec     06    2007     ND       050                     NA

 2AS-600                   inch
                                          Asphalt
                                                       2.2     Track           Nov    292007            07120019            Dec     04    2007     ND       040                      1.0



 2AS-600           -.1     inch
                                          Asphalt
                                                       2.2     Track           Nov    292007            07120019            Dec    042007          ND       030
 2AS-60                   inch         Asphalt         2.2     Track           Nov    29    2007        07120019            Dec    052007          ND 0.40                           1.0



 2AS-602                  inch         Asphalt         2.2     Track           Nov    29    2007        07120019            Dec    05     2007     0.82                              1.0



 2AS-603                  inch         Asphalt         22      Track           Nov    29    2007        07120019            Dec    05     2007     ND 0.40                           1.0



 2AS-604                  inch         Asphalt         2.2     Track           Nov    29    2007        07120019            Dec    05     2007     ND 0.40

 2A5-605                  inch
                                       Asphalt         2.2     Track           Nov    292007            07120019            Dec    05     2007     ND 0.40                           1.0



 2A5-606      -I          inch
                                       Asphalt         2.2     Track           Nov    292007            07120019            Dec    05     2007     0.31                              1.0



 2A5-607      -I          inch        Asphalt          2.2     Track           Nov    29    2007        07120019            Dec    05     2007     ND 0.40                           1.0



 2AS-608      -i          inch        Asphalt         2.2     Track            Nov   29     2007        07120019            Dec    05     2007     ND 0.40

 2AS-609                  inch        Asphalt         2.2     Track            Nov   292007             07120019            Dec    05     2007     ND 0.40                           1.0



 2AS-610                  inch        Asphalt         2.2     Track            Nov   292007             07120019            Dec    05     2007     1.1                               1.0



 2AS-61       -.1         inch        Asphalt         2.2     Track            Nov   29     2007       07120019             Dec    052007          6.9                               1.0



 2A5-612                  inch
                                      Asphalt         2.2     Track           Nov    29     2007       07120019             Dcc    052007          3.5



 2AS-627                  inch                        2.2     Track           Dec    112007            07120299            Dec     132007          0.42                             1.0
                                      Asphalt


2AS-627       -1          inch        Asphalt         22      TrackB          Dec11         2007       07120299            Dec     13    2007      039                              1.0



2AS-628       -1          inch        Asphalt         22      Track           Dec    112007            07120299            Dec     13    2007      ND 0.30                          1.0



2AS-629                   inch        Asphalt         2.2     Track           Dec    112007            07120299            Dec     13    2007      0.34                             1.0



2AS-630                   inch        Asphalt         2.2     Track           Dec    112007            07120299            Dec     13    2007      1.03                             1.0



2AS-631                   inch        Asphalt         22      TrackB          Dec    112007            07120299            Dec     13    2007      1.5                              1.0



2AS-632                  inch                         2.2     Track           Dec    112007            07120299            Dec           2007     2.7
                                      Asphalt                                                                                      14

2BW-605      NA                       Water           2.2     Track           Dec    112007            07120299            Dec     14    2007     050          ugIl
                                                                                                                                                                                   NA

2AS-633      -I          inch
                                      Asphalt        22       Track           Dec    212007            07120612            Dec    272007          063                               1.0



2A5-634      -1          inch         Asphalt        2.2     TrackB           Dec    21    2007        07120612            Dec    272007          071                               1.0



2AS-635                  inch         Asphalt        2.2      Track           Dec    212007            07120612            Dcc    272007           1.1                              10

2AS-636                  inch         Asphalt        2.2     Track            Dec    21    2007        07120612            Dec    27     2007     0.59                              1.0



2AS.637                  inch         Asphalt        22      Track            Dec    212007            07120612            Dec    27     2007     0.78                              1.0



2AS-638                  inch
                                      Asphalt        22      Track            Dec    21    2007        07120612            Dec    27     2007     ND 0.30                           1.0



2A5-639                  inch
                                     Asphalt         2.2     Track            Dec    212007            07120612            Dec    27     2007     ND 0.30                           10

2AS-640      -1          inch
                                     Asphalt         2.2     Track            Dec    212007            07120612            Dec    27     2007     ND 0.30                           1.0



2AS-641      -.1         inch        Asphalt         2.2     Track            Dec    21    2007        0/120612            Dec    2/     2007     060                               1.0



2AS-642                  inch        Asphalt         22      Track            Dec    21    2007        07120612            Dec    27     2007     0.81                              1.0



2AS-643              inch            Asphalt         2.2     Track            Dec    21    2007        07120612            Dec    282007          ND 0.30                           10

2AS-644              inch            Asphalt         2.2     Track            Dec    212007            07120612            Dec    27     2007     ND 0.30                           10

2AS-645              inch            Asphalt         2.2     Track            Dec    212007            07120612            Dec    27     2007     ND       030                      1.0



2AS-645      -I      inch
                                     Asphalt
                                                     22      Track            Dec    212007            07120612            Dec    27     2007     ND 0.30                           1.0



2HA-651      11.25                   Soil            22      Track            Nov    28    2007        07110871            Dec    04     2007     ND       030                      1.0



2HA-652      11.25                   Soil            22      Track            Nov    28    2007        07110871            Dec    04     2007     ND 0.30                           10




                                                                                             QE    Parcel         PCB   Cleanup          Plant   Interim           Status    Report
                                                                                            AFI    Project      OOT-030e                May 19 2098                   Pg    15    of 20




                                                                                                                                                                                             111005166
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Data       Table        for     Figure          cont


  Sample                Depth              Sample       PCB         Site   Feature    Sampling      Date              Lab              Analysis          Analysis                   Cleanup

    Point                                  Matrix       Area                                                       Analysis              Date                Result                 Criterion
                         feet

                                                                                                                   Report                                    mg/kg                   mg/kg
                                                                                                                                                             unless                  unless


                                                                                                                                                             noted                   noted

 2HA-653            6625                 Soil            22     @TrackC               Nov282007               07110871           DecO42007             ND0.40                             10

 211A-654           6-6.25               Soil            2.2          Track           Nov   282007            07110871           Dec     04   2007    ND 040                              1.0



 2HA-655            66.25                Soil            2.2          Track           Nov   282007            07110871           Dec     04   2007    ND 0.30                             1.0



 2HA-656            66.25                Soil            2.2          Track           Nov   28    2007        07110871           Dec     042007       ND 0.30

 2HA-657            66.25                Soil            2.2          Track           Nov   28    2007        0711087            Dec     042007       ND          0.30                    1.0



 2HA-658            66.25                Soil            2.2          Track           Nov   28    2007        07110872           Dec     042007       ND 0.40                             1.0



 2HA-659            11.25                Soil            22           Track           Nov   28    2007        07110872           Dec     042007       ND 0.30                             10

 2HA-660            14.25                Soil            2.2          Track           Nov   28    2007        07110872           Dec     042007       ND 0.30

 2HA-66l            66.25                Soil            2.2          Track           Nov   28    2007        07110872           Dec     042007       ND 0.40                             1.0



 2HA-662           6625                  Soil           22            Track           Nov   28    2007        07110872           Dec     04   2007    ND 0.40                             1.0



 2HA-662           66      25         Soil              22            Track          Nov    28    2007       07110872            Dec    04    2007    ND 0.40                           1.0



 2HA-663           6-6.25             Soil              2.2           Track          Nov    28   2007        07110872            Dec    042007        ND 0.40

 2HA-664           66.25              Soil              2.2           Track          Nov    28   2007        07110872            Dec    042007        ND 0.40                           1.0



2HA-665            66.25              Soil              2.2           Track          Nov    28   2007        07110872            Dec    042007        ND 0.40                           1.0



2HA-666            66.25              Soil              2.2    @1     Track          Nov    28   2007        07110872            Dec    042007        ND 0.40

2FIA-667           66.25              Soil              2.2           Track          Nov    28   2007        07110872            Dec    042007        ND 0.50                           1.0



2HA-668            11.25              Soil              2.2           Track          Nov    28   2007        07110872            Dec    042007        ND 030                            1.0



2HA-669            11.25              Soil              2.2           Track          Nov    282007           07110872            Dec    04    2007    ND 0.30

2HA-670            66.25              Soil              2.2           Track          Nov    28   2007        07110872            Dec    03    2007    ND 0.40

2HA-671            66.25              Soil              2.2           Track          Nov    28   2007        07110872            Dec    03    2007    ND 0.40                           1.0



2IA-672            6625               Soil              22            Track          Nov    28   2007        07110872            Dec    03    2007    ND 0.40                           1.0



2HA-673            66.25              Soil              22           Track           Nov    28   2007        07110872            Dec    03    2007    ND 0.40

2HA-674            66.25              Soil              2.2          Track           Nov    28   2007        07110872            Dec    042007        ND 0.40                           1.0



2HA-675            11.25              Soil              2.2          Track           Nov    28   2007        07110872            Dec    032007        ND      030                       1.0



21A-676            II      25         Soil             2.2           Track           Nov    28   2007        07110872            Dec    03    2007    ND 0.30                           1.0



211A-677           66.25              Soil             2.2           Track           Nov    28   2007        07110872            Dec    03    2007    ND 0.40                           1.0



21IA-678           66.25              Soil             2.2           Track           Nov    28   2007        07l     10872       Dec    05    2007    ND 040                            1.0



2HA-679            66.25              Soil             2.2           Track           Nov    28   2007        07110872            Dec    032007        ND 0.40                          1.0



211A-680           6625              Soil              2.2           TrackC          Nov    28   2007        07110872            Dec    032007        ND 0.40                          10


2HA-681            11.25             Soil              2.2           Track           Nov    28   2007        07110872            Dec    03    2007    ND 0.30                          10


2HA-682            66.25             Soil              2.2           Track           Nov    28   2007        07110872            Dcc    032007        ND 0.40                          1.0



2HA-683            6625              Soil              2.2           Track           Nov    28   2007        07110872            Dec    03    2007    ND      040                      1.0



2HA-683            6625              Soil              22            Track           Nov    28   2007        07110872            Dec    04    2007    ND 0.40                          1.0



2AS-613                  inch
                                     Asphalt
                                                       22            Track           Nov    29   2007        07120019            Dec    05    2007    ND 0.40

2AS-614                  inch
                                     Asphalt
                                                       2.2           Track           Nov    29   2007        07120019            Dec    05    2007    ND 0.40                          1.0



2AS-615                  inch        Asphalt           2.2           Track           Nov    29   2007        07120019            Dec    052007        ND 0.40                          1.0



2AS-616            -I   inch         Asphalt           2.2           Track           Nov    29   2007        07120019            Dec    05    2007    ND 0.40                          1.0



2AS-617                 inch         Asphalt           22            Track           Nov    29   2007        07120019            Dec    05    2007    ND 0.40                          10

2AS-618                 inch         Asphalt           2.2           Track           Nov    29   2007        07120019            Dec    05    2007    0.33



2AS-619                 inch         Asphalt           2.2           Track           Nov    29   2007        07120019            Dec    04    2007    ND 0.40                          10




                                                                                                  QE     rarcel          PCB   Cleanup        Plan   Interim          Status    Report
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                                                                                                                                                                                                  U1005167
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Data      Table     for        Figure         cont


  Sample               Depth              Sample     PCB      Site    Feature   Sampling     Date              Lab              Analysis          Analysis                   Cleanup
   Point               feet               Matrix     Area                                                                         Date                Result                 Criterion
                                                                                                            Analysis


                                                                                                            Report                                    mglkg                  mg/kg
                                                                                                                                                      unless                  unless


                                                                                                                                                      noted                   noted

 2AS-620                inch            Asphalt       2.2          Track        Nov   292007           07120019           Dec    042007        ND 0.40                           1.0



 2AS-620          -1    inch
                                        Asphalt       2.2          Track        Nov   292007           07120019           Dec    04   2007     ND       030                      1.0



2AS-621           -4    inch
                                        Asphalt
                                                     22            Track        Nnv   292007           07120019           Dcc    05   2007     ND 0.40                           1.0



2AS-622                 inch
                                    Asphalt
                                                     2.2           Track        Nov   292007           07120019           Dec    05   2007     ND 0.40                           1.0



2AS-623                 inch        Asphalt          2.2           Track        Nov   29   2007        07120019           Dec    05   2007     ND 0.40                           1.0



2A5-624           -1    inch        Asphalt          2.2           Track        Nov   29   2007        07120019           Dec    05   2007     0.48                             1.0



2A5-625                 inch        Asphalt          2.2           Track        Nov   29   2007        07120019           Dec    05   2007     ND 0.40                          1.0



2AS-626                 inch        Asphalt          2.2           Track        Nov   29   2007        07120019           Dec    05   2007     ND 0.40                          1.0



2SW-601           Surface           Water            2.2           Track        Dee   04   2007        07120     142r     Dec    072007        050         ugh                  NA

2BW-602           NA                Water            2.2           Track        Dec   04   2007        07120142r          Dec    072007        0.50        ugll                 NA

25W-602           Surface           Water            22     Frac     tank       Dec   07   2007        07120202           Dec    102007        1.39                             NA




                                                                                           QE     Parcel        FCB     Cleanup       Plan   Interim           Status   Report
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                                                                                                                                                                                         U1005168
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                                Figure

  COAL YARD SOUTHWEST    CORNER EXCAVATION                           CLEANUP STATUS
                      compare   to   Plan Figure         43




                                         QE    Par         PCB   C1earnp   Han   loteriro   Stetus    Report
                                         ALL   Project    OOT-030e         May 19 2G08         Pg    18   ci 20




                                                                                                                  U1005169
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 Data         Table        for      Figure


      Sample                Depth               Sample         PCB         Site    Feature     Sampling           Date              Lab               Analysis                    Analysis               Cleanup
       Point                                    Matrix     Area                                                                                            Date
                             feet                                                                                                Analysis                                            Result              Criterion


                                                                                                                                 Report                                              mg/kg                mg/kg
                                                                                                                                                                                     unless               unless

                                                                                                                                                                                     noted                noted

   3HA-600              II         25          Soil                           Track            Nov              2007            07110870
                                                                3.2                                       28                                    Nov        30     2007                                         10.0



   3HA-601             33.25                 Soil              3.2           Track             Nov    28        2007         07110870           Nov        30     2007         ND 0.40                      10.0


   3HA-602             3325                  Soil              3.2           Track             Nov    28        2007         07110870           Nov        30     2007         ND 0.30                         10.0


   3HA-603             11.25                 Soil              3.2           Track             Nov28            2007         07110870           Dec    03        2007          3.4                          100

   31IA-604            66.25                 Soil              3.2           Track             Nov    28        2007         07110870           Dec    03       2007        ND 0.40                         10.0



   3HA-605             66          25        Soil              3.2           TrackA            Nov    28        2007         07110870           Dec    03       2007           58                           10.0



   3FJA-606            66.25               Soil                              Track            Nov              2007         07110870           Nov               2007
                                                               3.2                                    28                                               30                      1.3                          10.0



   3HA-607             66.25               Soil                3.2           Track            Nov               2007        07810870           Nov               2007
                                                                                                      28                                               30                      1.6                          10.0



  3HA-608              11.25               Soil                3.2           Track            Nov     28       2007         07110870           Dec              2007
                                                                                                                                                       03                   4.6                            10.0


  3HA-609              11.25               Soil                3.2           Track            Nov     28       2007         07110870           Dec     03       2007           1.3                          10.0


  31A-610              66.25              Soil             32                Track            Nov     28       2007         07110870           Nov     30        2007      ND         040                  100

  3HA-61               66.25              Soil             3.2               Track            Nov     28       2007         07110870           Nov     30        2007                                      10.0



  31-IA-612            66.25              Soil             3.2               Track            Nov     28       2007         07110870           Nov     30       2007       ND 0.40                         10.0



  3HA-613              6625               Soil             32                Track            Nov     28       2007         07110870           Nov     30       2007        2.3                            10.0


                       11.25              Soil             3.2               Track            Nov              2007         07810870           Dec              2007
  31-IA-614                                                                                           28                                               03                  5.5                             10



  3HA-615              11.25              Soil             3.2              Track             Nov     28       2007         07810870           Nov              2007
                                                                                                                                                       30                  0.47                            10.0


  3HA-616             6625                Soil             3.2              Track             Nov28            2007         07110870           Nov     30       2007       ND 0.40                         10.0


  3HA-617             66.25               Soil             3.2              Track             Nov    28        2007         07110870          Nov      30       2007       ND 0.40                         100

  3l-L-618            6-6.25              Soil             3.2              Track             Nov    28        2007         07110870          Nov      30       2007       ND 0.40                         10.0



 31IA-619             66.25              Soil              3.2              Track             Nov28            2007         07110870          Nov      30       2007       ND 0.30                         10.0



  311A-620            6625               Soil              32               Track             Nov    28        2007         07110870           Dec    01        2007       ND 0.40                         10.0



 3lIA-620             66.25              Soil             32                Track             Nov    28        2007         07110870          Dec     08        2007       0.49                            100

 3ilA-621             11.25              Soil             3.2               Track             Nov    28        2007         07810870          Dec               2007       44
                                                                                                                                                      03                                                   10.0


 3HA-622              11.25              Soil             3.2               Track            Nov     28        2007         07110870          Dec     01        2007       063                            10.0


 3HA-623              66      25         Soil             3.2               Track             Nov    28        2007         07110870          Dec     01        2007       ND 0.40                        10.0


 3144-624             66.25              Soil             3.2               Track            Nov     28    2007             07110870          Dec     012007              ND         040                  10



 31-LA-625            66.25              Soil             3.2              Track             Nov     28    2007            07110870           Dec     01        2007      0.83                            10.0



 314A-626             6625               Soil             3.2         @1   Track             Nov     28    2007            07110870           Dec     01        2007      0.48                            10.0



 3HA-627              1I      25         Soil             3.2              Track             Nov     28    2007            07110870           Dec     03     2007         6.2                             10.0



 3HA-627              11.25              Soil             3.2              Track             Nov     28    2007            07110870           Dec            2007                                         100
                                                                                                                                                      03                  6.2



 3HA-628                   1.25         Soil             3.2               Track             Nov     28    2007            07180870           Dee     01     2007         ND            0.30              10.0



 31-IA-629        6625                  Soil             3.2               Track             Nov     28    2007            07110871           Dec     01     2007         ND 0.40                         10.0



 3HA-630          66.25                 Soil             32                Track             Nov     28    2007            07110871           Dec     01     2007         ND 0.40                         100

 3l-A-631         66.25                 Soil             3.2               Track             Nov     28    2007            07810871           Dec     01     2007         ND         040                  10.0



31-IA-632         66.25                 Soil             3.2               Track             Nov     282007                07110871           Dec           2007          ND 0.40                         10.0



311A-633          66.25                 Soil             3.2               Track             Nov     28    2007            07110878           Dec     05    2007          10                              80.0



3HA-634           6625                  Soil             3.2               Track             Nov     28    2007            07110878           Dec     05    2007          45                              10.0


31-1A-635         1125                  Soil             3.2               Track             Nov28         2007            07110871           Dcc     042007              ND 0.30                        10.0


31-.A-636         11.25                 Soil             3.2               Track             Nov     28    2007            07110871           Dec     042007              ND 0.30                        10.0


3HA-637           66.25                 Soil             3.2               Track             Nov28         2007            07110871           Dec     04    2007          ND         040                 100




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                                                                                                                                                                                                                      U1005170
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Data Table     for     Figure          cont


   Sample         Depth          Sample       PCB    Site   Feature
                                                                       Sampling      Date              Lab              Analysis              Aimiysis                Cleanup

     Point        feet            Matrix      Area                                                  Analysis              Date                 Result                 Criterion


                                                                                                    Report                                     mg/kg                   mg/kg
                                                                                                                                               unless                  unless


                                                                                                                                               noted                   noted

 31-IA-638    6625              Soil           3.2     TrackA         Nov   28     2007        07110871           Dec     042007         ND 0.30                         10.0



 3HA-639      66.25             Soil           3.2     TrackA         Nov   28     2007        07110871           Dec     04   2007      ND 0.30                         100

 31-IA-640   6-6.25             Soil           32      TrackA         Nov   282007             07110871           Dec     04   2007      1.9                             100

 3HA-641      6625              Soil           3.2     Track          Nov   282007             07110871           Dec     04   2007      2.1                             10.0



 3HA-641      6625              Soil           3.2     TrackA         Nov   28     2007        07110871           Dec     042007         2.0                             10.0



 3HA-642      11.25             Soil           3.2    Track           Nov   28     2007        07110871           Dec    042007         0.31                             10.0



 3HA-643      11.25             Soil           3.2    Track           Nov   28     2007        07110871           Dec    042007         ND 0.30                          10.0



 3HA-644     6625           Soil               3.2    Track           Nov   28     2007        07110871           Dec    042007         0.30                             10.0



 3HA-645     66.25          Soil               32     Track           Nov   28     2007        07110871           Dec    042007         ND 0.30                          10.0



 3HA-646     66.25          Soil               3.2    Track           Nov   28     2007        07110871           Dec    04    2007     ND 0.30                          100

31-IA-647    11.25          Soil              3.2     Track           Nov   28    2007         07110871           Dec    05    2007     0.45                            10.0



 3HA-648     11.25          Soil               3.2    Track           Nov   28    2007         07110871           Dec    04    2007     ND 0.30                          10.0



3HA-649      66.25          Soil              32      Track           Nov   28    2007         07110871           Dec    042007         0.32                            10.0



3HA-650      66.25          Soil              3.2     Track           Nov   28    2007         07110871           Dec    042007         ND          030                 100

BW-600       NA             Water             3.2     Track           Nov   28    2007        07110874            Dec    012007         050         ug/l                NA

3SW-600      Surface        Water             3.2     Track           Dec   04    2007        07120142r           Dec    07    2007     1.6     ug/l                    NA

3HA-703      757.75         Soil              3.2     Track           Dec   112007            07120300            Dec    142007         1.7                             10.0



3HA-704      75775          Soil              3.2     Track           Dec   112007            07120300            Dec    13    2007     ND 0.40                         10.0



31-IA-705    2225           Soil              3.2     Track           Dec   112007            07120300            Dec    13    2007     ND 0.30                         10.0



3HA-706      22.25          Soil              3.2    Track            Dec   112007            07120300            Dec    13    2007     0.57                            10.0



3HA-707      75775          Soil              3.2    Track            Dec   112007            07120300            Dec    13    2007     ND 0.40                         100

31-IA-708    7.57.75        Soil              3.2    Track            Dec   112007            07120300            Dec    132007         ND 0.40                         10.0



3HA-709      7.57.75        Soil              3.2    Track            Dec   112007            07120300            Dec    13    2007    ND 0.40                          10.0



31-JA-7O9    75775          Soil              32     Track            Dec   112007            07120300            Dec    13    2007    ND 0.40                          10.0




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